Case 1:05-cv-01158-.]DT-STA Document 11 Filed 07/06/05 Page 1 of 2 Page|D 3
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t by
IN THE UNITED STATES DISTRICT COURT 05

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FOR THE WESTERN DISTRICT OF TENNESSEE ji` "6' p ”'"'x.

EASTERN DIvIsloN z _ ._ _7,:._.

WARREN OIL COMPANY, INC.
Plaintiff,
v.

Case NO. 1-05-1 lSS-T An

NUOIL, ]NC. and RICKY SOWDER

\_f\-/\_/V\_V\_/\/\,/\_/

Defendants.

 

ORDER GRANTING ADMISSION PRO HAC VICE

 

It is hereby ORDERED, upon good cause shown, that Rebecca E. Crandall, Esq. is

admitted pro hac i)fee to pi"aictice in this district.

lt_ is so QRDERED this {vuday of 7%: k , 2005.

WSTATES DISTRICT JUDGE\

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Honorable J ames Todd
US DISTRICT COURT

